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                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA
____________________________________
                                           )
PUBLIC CITIZEN HEALTH,                     )
RESEARCH GROUP, et al.,                    )
                                           )
                     Plaintiffs,           ) Civil Action No. 18-cv-1729-TJK
                                           )
               v.                          )
                                           )
ALEXANDER ACOSTA, Secretary,               )
United States Department of Labor, et al., )
                                           )
                     Defendants.           )
                                           )

      PLAINTIFFS’ MOTION FOR LEAVE TO SUBMIT SUPPLEMENTAL
  DECLARATIONS IN SUPPORT OF MOTION FOR PRELIMINARY INJUNCTION

       On September 21, 2018, plaintiffs filed their reply in support of their motion for a

preliminary injunction (Doc. 9) and attached two declarations. The first (Doc. 9-1) is a

declaration from Michael A. Carome explaining that plaintiff Public Citizen Health Research

Group (HRG) has submitted requests under the Freedom of Information Act (FOIA) seeking the

records that are required to be submitted to OSHA under the Electronic Reporting Rule. The

second (Doc. 9-2) is a declaration from counsel attaching as an exhibit a declaration filed in

Public Citizen Foundation v. Dep’t of Labor, No. 18-117 (D.D.C. June 29, 2018) (ECF

No. 15-1).

       Under Local Civil Rule 65.1(c), supplemental declarations to a motion for a preliminary

injunction may be filed only with permission of the Court. Accordingly, plaintiffs seek leave,

nunc pro tunc, to file the declarations.

       Counsel for plaintiffs has exchanged emails with counsel for defendants regarding the

relief sought. Counsel for defendants stated that “Defendant opposes the relief on the ground that



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Local Civil Rule 65.1(c) explicitly requires that ‘[a]n application for a preliminary injunction . . .

shall be supported by all affidavits on which plaintiff intends to rely,’ and the affidavits in the

reply raise additional factual matters to which defendant will be unable to respond without a sur-

reply. Counsel for defendant states that, in light of competing professional obligations including

pretrial matters, he is unable to work on a sur-reply in the coming days.”

       Plaintiffs disagree that the declarations at issue raise factual matters that would make a

sur-reply appropriate. With regard to the first declaration, OSHA does not dispute that HRG has

submitted FOIA requests seeking the records that are required to be submitted to OSHA under

the Electronic Reporting Rule. Indeed, OSHA referred to one such request in its opposition. See

Defs. Opp. 6. The point could also be established by reference to a FOIA case pending in this

district, Public Citizen Foundation v. Dep’t of Labor, No. 18-117 (D.D.C.). With regard to the

second declaration, plaintiffs attached it to their reply for the convenience of the Court, but they

could just as easily have stood on the citation to the record in the case in which the original

declaration was filed. See Michaels Decl., Public Citizen Foundation v. Dep’t of Labor, No. 18-

117 (D.D.C. June 29, 2018) (ECF No. 15-1).


Dated: September 21, 2018                      Respectfully submitted,

                                               /s/ Michael T. Kirkpatrick
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